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       Case 3:18-cv-01142-JCH Document 1 Filed 07/11/18 Page 10 of 30




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    8ni-          op lc each ilme 4\ne Ce,11 +rap-doer- op-einecrci.

4cp The ploAc\-k- F-F 1c) .t- Coun+ cxf-A-er- 4-4, cx.4_,t +rap-docr
    opened +he Bch -i-tralL

ba 1A-C-1-er 0-CencicAn+IS 1_i- b bo.m1<_4 LA-. wi-14e, • 0 ('- /o C.hoo—i-e,c-
   6pc-o,ted ibe_plconft•Pc ate hic, Cell- mare fiue<5.7 or- more


                                            --q-
           Case 3:18-cv-01142-JCH Document 1 Filed 07/11/18 Page 12 of 30




    •i          - a Ltck , z 565 z. • , n Sabra 14., s+r- a
             :f
    C.      — el -red .. ` % on     '' 'eli , '=4,;0
                                                  0 Prtjor +0 en+enns .4-he
    i Q.1 • •         e     '   g   De7cPnClOn+S   <P LO licLAki> V10104e.C1 COnneril     CLY
                                                          r, Li
    lepqr+rrie,r)`1- oc C,L)PrCAIC)n <0C:D.o.c>                 potictes on ceit ens-V--
    ruci-ion       in he vin9 ca, <comple-V-e.> VISOOLi aThe -.)e-cenactn\--s
    coAled +o -urn +be (csil (i9hfs> on be-Fore, en-t-erinc3 *he ci&I
     +0 ens+rcke+- +he piairvlices and hIs Celt-rnci-1-€. Which Could have
    bppn done In +he uni-K nelcLin Con:h -el ceni-er. -I1-1‘) i, s. wr1-1.-
    +en in -HQ, Ac1rn ix') 1 '` +rctiktve O‘v-erik-we':cs c? LI and.      to   S 4c. ensure
     in6.1-1-1 0-e-Pic.e,ts rand pi-1,c),ners         ct.--C'4.c,v,


51 A wken 4-3n.e., S)e,c'ex-lacks-A--) ,t--1# - red -A-be_c4.::,11 AirIP pta‘n-1-1-P-F-
    Locx      pund-\o,c1 ‘n hz cac,e lot           derCendan-1. Flo Pu+r-Narn becork(N.
    94e,+$1.9 ccNrCeri -400,C,E, down or 4-\-\iZ, kc-A.4A-Q,N..) bon K •Ooo---(3-.
    on .0.Q, \o0-1-1--Orn \z-)on        de;c39_,i-riatn+ c" /o P)A-neo-ri \,-04peor)
     ponch\tc        - 4-\.Q., pkAkr\-H:F lri 6 ' .-renc<3. ) ‘00-c,- o' hvo-,
    i-Teaci      ferenclasN-1- cid Po-t-o,aarr 4-ien /1-Clbbv_d 4-1-1 ID\ ClAn-i-i-
    f-F'S .%kkr+ .\-hok+ wr,c around i-lic, neck and boopin Choktn
     i-a    pAckillh+-E whilP.         +Ili f3onc..,1-)tnc htrn Ploarrk-t-F-ra-H-egn-
    p-i-aci .-I.o Cov6r hts.-Face wi-Ph ht<> Viond Aber) plo-tn-kC-F
     Was Mac              03Q.In -i- w0 MG rQ -i-ify-va ,\otA (-\,- -e.r1(-30%,,r1\---s
    l•-i- -1
           -)0„nek• y ckna, I + Q wht-k-e_       Pick;In4-‘-cF .\-tvd. -1-o iy..11 bo-4-.
    wo,,o, noi- abte -irc duo A-o Anirn 4-k-2..!„ \os}n9 CA-loct.41staii
    and n/ccerci. qs -t ha 91 °An+. t4-7--F          Is be.ins        Cin0C-kled an A
    punokeri Ae4:endari+ c/o Puk4-no,ro pu4- i-oo-Hrl of hie, 1<nee-s
           Case 3:18-cv-01142-JCH Document 1 Filed 07/11/18 Page 13 of 30



  4-Jork.


   tn +he plain-h-r-V's 'back to.) k), to, oP,Iirl -1-1-KA -force from -1-tne bo.-1--
  -f-orn o-P ihe --fop bunK 40 cikept                     more e/Y.A-remeisA c)ck,An--Rilt
   p<-..)sure,
        ..,    on ploani-i-FP's al ilirl bac-k.                      L'.)1-16 (e._, 6Q.A.-r-1 401 /4 n- r%

  904-1-vArn pon.c.,hin > caKoc..14--la cznd pork Rd9 QA1-4-re.44‘-‘d                      p 0,, I a-RN
                                                                    c7,,elf ,             o.,/    c    .1__
  c) \---sc,oce., on ploor\--k-ic-FF-) 't.-k.e.,... oe,Penc:Ion-k.s-k-orts2,0               fo rooCur
   cio OF)lucck --Ino        par* in pondr,iric3 . -)1,(-01 (1-4- tW II\ KIS c" % V.-..)->
      eryity-i      'plcun-1-4r\S tl)v-vskis \11, Act_t f).c6 1_ ipc)e-,1-srmt-).15... i)ecen-
   dotn4-- C/0 F-E:ADot uoctz. -kw\ s4irn onz3 1:),,e,rctlin r to, ‘ r'>4. ; c-V7::'_.
   ireteS


SQ. `TI-Q., pLon-vi-c f:E was FVace6 .in Vickcid--C-0;7- -- .               clQiceocio,n+ c/0
          :.,,,,,:.. usi um ot wividi
                  -; ?-1,001.,N oo,f,I., utze,re..e.44mrnsa--IcS-1+ > c16-7endeaol-F‘SLook
       , .1.,...:,,„,
   placoci-..,c.\-c-1-) an':,1e. In IpJcA 'irons Oc. LA)1;1.1c,            w4are o-tc,,rn
   ex..-Vreprw_1(. 4-l\*VV-       < \AA n 4-1„La'LA)Ck                              _,‘04- ., t).9.1116)
                                                                      4k Mr,_.•;+c--9,
   Ind ocie_i5 c \\A-to:I-kr Q.,1100 n1> . tA51,)1t.e.. bo-in_o\ .,set.)1--1-e6__,. 4-7.--0 rn hi,
   C& plamilic-c ultac; placed in                   ck onive,y-sa.1 pr--ze,cw•hon L.ct.-k-ib

    V411":1-1-)e, octirvftFc Ocki, -14,2,n e.c...x!)r-kes:1 40 cQ_At P) 49,4 vstuiP_A-
    --1-kfz.,   0,,i,eet-\/1--AcDr) erg' de-4--erwl,c),M- L-1. . W k 14-e whcm-e„ de,Feryien 4-'s
   C /0 .-,Loc, 1 Itiocio U s 1 uca > al6occi Gorl-ilo-1-1kar Corr-a-c-k- Ionat 0A-74-71-
   eel- beTIn 64-rippin3 plc ini-tc+7.0c hts clo+1-1,0, )(l-c,30r).p
    iPotr.-V- cio 1- 1r). 4h i s ,,:_-,in-
                                   -       1p, S-e_cis-c..\-) p latn-h-PF -Fel+ a_ nurol"
   ness run -1-6-)f-ovnh hIc) hocicr Qitc-ve),9,6 \ok                        blood r- vc,lqins
   fo he c.62 hcr.:kri Coa,<;-,Ins hfrn --Yoiacae.iaLS bcdonce                                   HotA>e..-
    vex- cic,Sex-1(Acrt-sr t4, upht4-e c\(i no-k- repc)i-4-- +'r                      -k-O muitval
   Dave,n8ckni- c-fiet, St.A.Deil -1-A-lerl        ''     OctpOici, plotAim4t-F" in a
            Case 3:18-cv-01142-JCH Document 1 Filed 07/11/18 Page 14 of 30




    -r,st-1“4-        \-305(e,,c-> sock:s > and 30 pop su LA- %tam) u-orli\e Ocks.n4-14I
    bocit u....)0...$ bt.)c-ymill. 4-1--c, re) -kk\,o, Paink,ep__ and he u.)0,,T, ,--‘0 4-
                                                               -N      ly
     ‘v()-n a .1.-vm.k:L').2.r--. as IY\cknc.10,+ea, bL, C..1).,,,C,- ccd"ronts+-rd,f,
    +I va direrA--ive, to . S i <'F>. 'OerFQA-v<iarrl- c/o F.,(0011 -A419.11 plokokki

    VioncicoCc IS and t.9_,(\i--of) <cx.ton(1/4 kA)1.4 4-e-4-05- Q.,bc1,11%. cif                *‘CtiL

             kirr"4:
    pl.°. t nI      €3C-A-re,ine 1 (d ''‘' 13\*. i+le         0.01tn4 t, CP 1 11) (.0 -FccrIF- Li- IncEs
    +all ,7betr          In <roll, r.e•-i--rf-A.0,\-1:!:., i\-)1,A- (vv., ex-i-renrie,t, -\-.1c31,4-
    Caus-e..8 Q;/..+rei-c\f.. paxi r\ ..i--o pioai V ti-'`'` s ho. t > u.5v-I2.4t-f, 04\6_
    ank-te•       ,


6   .-sA-vokir lioi-- (:), Zone ‘00,(3. -c I o&beciFtatrY4-1A-7-F" _,L3.e.. oo‘k- and

    cl 'pl44's 14r1-c'xi‘n      be""lr'1. 6'M-re tej(- 'lit-14- '/ •h) \--&'e
    'YoLne doe, Ckaaref3 .1:1-1.0kA- G-u+7-rs CO,es-e, c' o+ .A•ttt- .


sLii 1-1-va,4 ci.-rfex-- desren,dcANA-t-, te,-P 4 p( Q.in+ ic-rC> g.-Q-A.( Ate ciAecend-
    eAnks Chrxixie.-icArye > Dflorictno > cArld 03vozicirrotrn rk, C,Cone- 4c +
      ta)1-141F-c.. Cell c4,<x).1.--          ,r g, P c:kir>4(--ic-T-- p te,ckaeri. anA \'-- e       •Q,Ki
    -For a        ,--)0t,k)-(),1- and sVor Into re.t--raLni-S A-c) 1).e aci-vs+-QA, <,
    A.,hr     up --e (1,0,,ustn.       1-Arairy4-1W bosx-is +o 6U-3 IA up o,n(i --i-ov-n
    Colors 7•c.ori-1-1 exit-Qii-n,Q, pok,In 0 r.1),,r\--7e,f)t-S._•3,1n+ S      n )d,01/4,1"\,0 CX il 8

    Ci hC' pd 0, I   ckne kottich,e_ck a4-- 441.5z, ploon-i-i-c"--P and. (A)cqt::_EA
    cieCenack.1-4 QweAdarrarno io ki Oain-1-1-1-V- '` T cior-4- c,ccre, how
                                                                          /0,
     much pall') To \ re in > grid TO don*- ctic.yos-ve, a .shou-->ar a


514 bE.,.4.- e- ,ncipvvis ux,rfektn ic110,90t > arid co,pkain (2)c) rnon came
            Case 3:18-cv-01142-JCH Document 1 Filed 07/11/18 Page 15 of 30



    ..,,..1._


     +.0 -i-ificz, pi,o0M-tc-Fts 0..P_A I. C1AC3r wiuzire. AANQ, Octirvi-t-PC-- 0,e,tictz6 •P
     kg; can Inzwe -Vol left- paper an<i. &oclp\-.)o-1-.V\ Ae,41-- ex\clot,v-k.
       aw()Ine__ci CAA= 44-\-e, ree,Ve-,S4- anciV-)44-'ore- wo,,iicin.                       oc deley-
                                                                             -,v
                                     -h-Pf +o UP-R. 1.-)1
     nacAni- Cof 4-c,cun Prirkr 4-oW ptckio                                                    1,-tok,n8


z5* -Tko, In-cv,Ii r e,s4-ra,try4               rn.(xcle. 14- tr.-To.,c,,tUe_ -io dtpo.,,e cpc
        lcur,41
              ,-PF- "‹, i-,-,A)(1,L1    v.az-k-e, u1/.4 5 1 4)0t..)-1- Qnr-e,cASct nat.b143 r 1 ?-,k 1rl
     .4:-Vc-44 %RA-- Co ni--o, nr) tin ct:I- 1,4 r) *o hi S. i.ein--1.0.),.1 co-ea.


Vo r\-re, Ocur41-4-- 1.00,,s nc5A- ae,cotrvtarnineA:leci cLccor-80trIcx wt-4\--)
              -,
   C- "0 0- 0-- )0,1\c„,1-.0., cvc)ci-, cioca eorextd -1-0 reinain on I i'l - ceit
     re0--mi n+ S-1-04+ us uo 1, 4,11 c,betyl ) ca.t acfn+s ail over- pint n+14-1,1
      6:9do Ord haredS Wksz,n ploun4L-FFot-1-4-(xnpired 4o ui- i.na,-1-e, hlo,
        eni,kx,1 's .- -LI-i• o        1-FN 14 tA.)0e: Ic)or- ntns etwsiinch (rine- -4-c) re.A-
     oo plated-                           S.
                             fc 1,c,,r><:Ic-,


 '7, AV approX 1 ma             1u t I `f, 00 prn -H-)irci Ski-Pi- S k-oss-V e_d anck 4eFend044
     efo 604[L6 816 ht,-.; icw-k-m-e, 4-ok3r and ploorrt-i•PE s+oped c-/e3
     lc a c.          li-1   hlen IF 1-A con 'have Vas coc-r ck,cips-13 bec -
     auS-e -1-1,s,LA c_kv-ke. .Q,x4r-ern,E.7,1EA -A-K.&4 0a.Nci. Cck,U St, ry(        P,Dc-k-f--Cry-) 2pa if1-4
    'Defi2e n80,7--1-1- c1/27 Iceil) -1.01c4 pl a 1 r14-1 -c --- ‘ y0 cli.S.erUe, 4-0 17>e, Ci)a‘ifre,
     U D and +rPct+e,ck 1i kA 4-1-kz _pet clo oc c)\--04-- rai- (..Cot) o,rencore
     Locx,t k,tnc o-c. 7


58 Ai- approv4 fnex e,Icy -l t 00 °on                ooni- if-F- S +0 rec.% L. I.Q.<34-en cn 4-
                                                   - °) t.---
  . 4M4- L,,&(i)                   < 4...4--,- 0 Lk, > < u 1-)nNo....0 9 u-10..\- -.A CAD+ wa.44
          -t-Q t.ptcra -e,..i/DAAc--e-i TrarD 5, -1J-14utbici ui eauroo ._.10 Ja °' -1-1 WO
Z-1- til N ."-ffl <- >i 'aim Q:P -1--1 7,-i-urep u'czydp (08 00% 47,...          Yi t•-Ftc,tAi 1 xo,Ickiv +Id.      1,19
  ..-a-P* -1-1-P ti uallool scti sfro u-alo+ 9,afolicl prii jitftwold - -craw
is‘o\ S1M -ar)ut;... --6.3(1Q4 b1. cy crack s.,, k. ..h.< Lud o° : h ix? pue
    4.sognv iDoul 5 ry.D-Lu -0 tfail-f\--ya -1-ou c,-.01-t is kquoo id - way
      sizi.j.lku.lio(d ,.i..,oci ?2:11--*(yi st ol, ui)ov )I'                           9'X10(        (.1‘...Inc.
-<siv -7 uo1-vY.Dv_1-(2., aol-t-va+.91utLA-Arst J 03- CA 01+,01.-k- -5 cHNU 1
    1.4,      11
                                                           -Va,61-VO 1 -I,i•S 'o) o... he ._.e.6
    bUt Pl-rad .301.-- ,-).D <1,01 l'> i' \ U 0 2t-a kS OG-1
ll'a-'.) t-i-A 0-$J- Pra-t-Acns-- glom atitunviat uay-.. oof 01 r-row ‘ )4.Gt-saci-o Jed voo)
                                                                    ,s- . -Y-)oLT:-)   t Li ,...± i ,,,u rr,)1 ci
    -a/47 -FA) pip .111.10-)1 °                -fallOpti%j--6.c.1 4',..i.9,1 U --1, Not 4.i LIS. 11 c)(..A
 -1,--11-• 4,;cioltiA, s....115-mi QJ 9 f‘),Liu C; llii+ (IC            i 0     CY7OV U tr:i ,-i-       S /117
 "-
  e).1 'No. 0 ark ti J+°1 d -pi 0*                                                           -0,-a...1q
                                                                                     - .. ---1
                                                  PIrax-3/ o/,:, it...JX>pca:_jrap A.--no.-
             u1 a clq e....1- )UP1         t...101-ti9uceD re,curp, 'O (+ U1 a_fliuriold Cba>l,
  04. aim+CJ C . ,__i S tv - '0 cri ji- ti.Lkol                 toLl-i-- 01-0(4c 04, -4..11 ----;ryn,p
  -l'u1 V -14 ,.)'---t lit-TD - uk 'n+-1" • Fai                                        41 b9
                                              X;() 13(4154.± 'IP-A O/ 4-k-ix>PLA PP -P',
                                           s,..±.+c)-- pt..Noii +4.; L.+ 5„.±3.4..us)018 t_ef-. 00 I
    °t S, a1') Z'w-t-s1s57 ic23- 139))"a3 v--)1401-±u'ou'a+ 0/a'n 4%1-al taloa
W I. Lt    04. i)11C)S    1 'as.   0./,   ..t.--Upkirajerek? -VNOUtC")1 4-1.1101Ya+CYal '-1 1   7N+ p‘ o+
    us 'co ±41-k-u 1 t) Id pug +4 .                  raw -a-.1+,c a Leo c;.u(c,\, skuq,-)..1 +s-a.)..
     3Lvt... oi., .-ar.q..7 w sk 'aL( U004 LV)OW cnout p-a3aJcian. pt y.) vvelv-i
                    Case 3:18-cv-01142-JCH Document 1 Filed 07/11/18 Page 16 of 30
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    "...\orx+ •



     ploon+ \-c-E -.}hr         1rwrrt 1,0hai- uocim coat -.=-0 V-ory-) 8unincy-be
     ens+rc-i-qof) -44.k? re.),itzkl., eitynnivn. De}r-cicx1-)A- 1..;t )k,4e..
      i.-,0k4-Q..44 -11-o toon-i-t-Pc- \` \Thcw (i,1 ci, ocr ovsssw-v:)1.e. +—eel 1_,
     SprcAkri <6c)c) in tpcm- CS so -1-\--Non. mk, -coy- -4-trArl-
     \001-nin 1.-Te,nra1-- tor):. DerPan6cArt- › 'LA-, brA,4>e_ K o,M 1..A.
     Prtr- .+er),(1 4-4,.....uptciir\-1-v-P4                    CO) lO cc.) C_*•-,

      (:;'0 kir -\---7o 1- pt..)-1--1-in us, 4hrounh Ma+ •17:01kbit,
    cl an +- 1-+ ,. bcAn lc 3-<44 \\ MO() 100 ---, 1-)u n crecAtt> e '0),,tt-i
    --kld -i-lrqz,,N,C:e_nt-ScAn1- it-Vvz, c/o's cAre noi- ceectin9 1--)m cAl>d,
     1-4% kAiktl-t_ V.,+02,4.-e_a ' C-4cncpct . ex,),Pc)i-e., 44.Q., de.,ft-f-tdo,r)-1--& 1,Q,s,-74-.

      plrhinc's Cf-liplat-n+t-im-P +old 43zri hts In4
     'e54-frefiv, po)r-1 and he cs btoc)(-1(5 - -;--0,,,,-1 44.4, cu-4-..aroon i
    1-os Wirt5-1-s cod- ovILI.€5._, an i-hok.-i- hQ- ovieds 4-o a-ere, nrte_citcAl
    Daolf)- Lk Pr or i-0 lici, pkti n4-- i cc 6.e-4'or€ k .L..A.v 1 n A-ke
    cell SucAc. 40 6e_ To".

Cog A4- ckprpox imoL-1-€ I 0 :, 0.0 pry! play+ -rr boas veo Ili s 47 i'S A--
    raCrivi ir)o u.9e)/Zr 4-6. IIRktik 1 hAsd no pia:54-1e por-K bk [i.."6-t:s -fo 16_4_
    +0 Uc-i ints hands however plain-kW had inct CR_ on d___
    Urtne on hcs hotnde? Se hQ.- recus-ed +o Q..ai hike i-1-if no+-
    +0 rnervi- fop 44\ia, 4-11 II res+cain-b moda L+ Impo&st 61-e f(or
    p la 1 0+ t-ir -I-o reak,h big frou4-1-? .-1-11p, co crec.--h on ct I o*.-Pi cex
    Coo-rie, b(3 i,u14-1-) 4-1-0,5)-7 ordeslog Flom-ft-Pr' +0 +hrouo
    hiS gar bo.cje_ ou+c, Plain-h-fir 4-oi:(1. +-fivz_ torrec+ton411 o-1-
           l-i has no]- ea++efl ic•,i- kieccw&€ he hat) ,io spy r1,<

                                                   -1 1-
             Case 3:18-cv-01142-JCH Document 1 Filed 07/11/18 Page 18 of 30


      cortIe




      his hands are con+amina+eci)anei i-he chain (1-e,AAner> lc wet +c,,
      s\-,or-4- -For him +o csacin lets mou4h."The correci-ional occluf
      i-otd plain-l-i.P-P "4,1-)ai               a direct orcie..r,-VVirou.) i-i- ov+ or c5r).4 c&.
      disci plinart repor+. Plairyk- rfIc -Threw --1.11e,ireit                 oui- ,..1.1 has been
      approxima+elc. Q1-1 hours sinc,e plooryVver has ea -I-en his Iasi rae,al,


(63. Al- approxima.4-eli3 82,3,0 pm pictIni-tP-P Was removeri -c'ro ry-i I n- Cell

      reSi-rain+ s+ck.i- us.


VA     flain-k-S-P Was on ‘n-cell r-P„ci-i-aini M-ckl•us -car 04 hours
      Wi4-h 00+ bii-i3 decaniaminia+eck bt wo                              c   shower- and
      Porced +c) a            and res4 on -41-)e. Shp,eAs and szikkl-,e, For                     a4 hours
      while his 1-30cIt6 i..oay criverP,ri to mace. crud VIto, c,1,-,.Q.,eis icl.e..incA Cori+. -
      aminaied -From his Sw.e.c...,:i-kIncrfrace -Pi Ile.ci backs .coi- can -1-\--1P
      platn4-t-FF's ...ccxn.e...


(05   The plc:km.1-4T' tA)ctS no+ c)iven bonriac3es -or Inv-, curs can                                 tc
      and anktes) nor uzia.% otru +reoAmP,n,k- c3kven -For pla_toi-%cc's ey..I
      head In3urck 7bok_daenclo.n+ Malicturid.
                 0 u


Glo Ploan+S-F -Piked a eyfevance aboo4 +1-)e excesses e 02,,,e, oc.f'orce.
      1-)     clecendan4c, oknct clePencion4- chrl rielritnP. denied V-11 s
            rievanCP a ' reetn3uoi+het The aci- ions taker) bu ciecen8ani-s.


      PI«              °,11      it • ii,. . _      0   4"111•41.111   0        •   •   III .   II -


                                                             -i8-
                   Case 3:18-cv-01142-JCH Document 1 Filed 07/11/18 Page 19 of 30



             . 2




        I




     I   essw                                  U     - •              a•         a'         - Salt •                                  - • Eto a                                     .-> 1'd
            0 0_ I                   - • 0 a ' A.                                                                                    •                            /
                                                                *'    '‘ •                           .•k                        • • 0 AI I               '                    • • DI 1
             c         " rr) .v



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                       ,t                           S'• h•           4cACa'S                          ea       a ' i             • a                          •           • '       •         _

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         Lid. ,                 a         e                      • as •          • •            •v 11•-                •          • .. •     • I             7 •                            .0

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        •       a c . 1<,                       • as • • '            le                4t. 0 •        in. •                               1.,_-*                              •        o
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            Case 3:18-cv-01142-JCH Document 1 Filed 07/11/18 Page 20 of 30



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            Case 3:18-cv-01142-JCH Document 1 Filed 07/11/18 Page 21 of 30



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        Case 3:18-cv-01142-JCH Document 1 Filed 07/11/18 Page 22 of 30




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                Case 3:18-cv-01142-JCH Document 1 Filed 07/11/18 Page 23 of 30
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            Case 3:18-cv-01142-JCH Document 1 Filed 07/11/18 Page 25 of 30



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         Case 3:18-cv-01142-JCH Document 1 Filed 07/11/18 Page 26 of 30



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